                                        EXHIBIT 6A
                                         Complaint




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